             Case 2:12-cr-00198-MCE Document 1258 Filed 09/26/16 Page 1 of 2


 1   RANDY SUE POLLOCK
     Attorney at Law (CSBN 64493)
 2   3824 Grand Avenue, Ste. 120
 3   Oakland, CA 94610
     Telephone: (510) 763-9967
 4   Facsimile: (510) 380-6551
     rsp@rspollocklaw.com
 5
 6   Attorney for Defendant
     STEVEN ORTEGA, JR.
 7
 8                                    UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10
                                                        BB
11
      UNITED STATES OF AMERICA,                              )      Case No. 2:12-CR-00198-MCE
12
                                                             )
13                            Plaintiff,                     )
                                                             )      STIPULATION AND ORDER TO
14          vs.                                              )      EXTEND DATE FOR
                                                             )      SELF-SURRENDER TO DESIGNATED
15    STEVEN ORTEGA, JR.,                                    )      INSTITUION
16                                                           )
                              Defendant.                     )
17                                                           )
18
19                                                STIPULATION
20          Plaintiff United States of America, by and through its counsel of record Richard Bender, and
21   defendant Steven Ortega, Jr., by and through his counsel of record Randy Sue Pollock, hereby
22   stipulate to extend the date for Mr. Ortega’s self-surrender the designated federal institution from
23   October 6, 2016 to November 7, 2016 at 2 p.m.

24   Dated: September 22, 2016                                   /s/ Richard Bender

25                                                           RICHARD BENDER, ESQ.
                                                             Assistant United States Attorney
26
27   Dated: September 22, 2016                               /s_Randy Sue Pollock
                                                             RANDY SUE POLLOCK, ESQ.
28                                                           Counsel for Defendant STEVEN ORTEGA, JR.



     STIPULATION AND ORDER TO CONTINUE SENTENCING                                                           1
            Case 2:12-cr-00198-MCE Document 1258 Filed 09/26/16 Page 2 of 2


 1                                                   ORDER
 2          Pursuant to the parties’ stipulation, defendant Steven Ortega, Jr.’s self-surrender date is hereby
 3   extended from October 6, 2016 to November 7, 2016 at 2 p.m.
 4          IT IS SO ORDERED.
 5   Dated: September 26, 2016
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     STIPULATION AND ORDER TO CONTINUE SENTENCING                                                            2
